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     In The United States Court of Federal Claims
                                             No. 06-587T

                                 (Filed: December 23, 2011)
                                         __________

  UNIONBANCAL CORPORATION
  & SUBSIDIARIES,

                                Plaintiff,

                         v.

  THE UNITED STATES,

                               Defendant.


                                              __________

                                               ORDER
                                              __________


         The pre-trial conference that was originally scheduled for February 16, 2012, has been
rescheduled to February 22, 2012, at 2:00 p.m. (EST). Chambers will contact the parties at a
later time to determine whether the conference will be held telephonically or at the United States
Court of Federal Claims.

       IT IS SO ORDERED.




                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
